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                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLNA                              u・
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                                     ASHEVILLE DIVISION

                                     DOCKET NO ll16CR51

tlNITED STATES OF AMERICA,

                       Plaillti二
                                                              CONSENT ORDER AND
                V                                          JUDGMENT OF FORFEITURE

3)KENNETH PAUL METCALF,
                        Defendant.



        WHEREAS, the defendant, KENNETH PAUL METCALF, has entered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Fed. R. Crim. P. I I to one or more criminal offenses under which forfeiture may
be ordered;

         WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 21 U.S.C. S 853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject
to forfeiture pursuant to 21 U.S.C. $ 853, l8 U.S.C. $ 924(d), and/or 28 U.S.C. $ 2461(c), provided,
however, that such forfeiture is subject to any and all third party claims and interests, pending final
adjudication herein; the defendant waives his interest, if any, in the property and agrees to the
forfeiture of such interest;

       WHEREAS, the defendant herein waives the requirements of Fed. R. Cim. P. 32.2
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

        WHEREAS, pursuant to Fed. R. Crim. P. 32.2(bX1) & (c)(2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded
guilty;

       WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding conceming any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives




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all right to do so. Ifany administrative forfeiture or civil forfeiture proceeding conceming any of
the property described below has previously been stayed, the defendant hereby consents to a lifting
of the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order ofthis Court No. 3:05MC302-C (September 8, 2005);

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following property is forfeited to the United States:

              . Glock 19, 9mm caliber pistol, bearing serial number UKU4f 3
              o H&R 923,.22 caliber revolver, bearing serial number L31800
        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

        If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 2l U.S.C. g 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice ofthis
forfeiture.

        As to any firearms and/or ammunition listed above and,/or in the charging instrument,
defendant consents to disposal by federal, state, or local law enforcement authorities upon such
legal process as they, in their sole discretion, deem to be legally sufficient, and waives any and all
right to further notice of such process or such destruction.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication ofnotice or the receipt ofnotice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

       Pursuant to Fed. R. Crim. P.32.2b)Q), upon entry of this Order of Forfeiture, the United
States Attorney's Office is authorized to conduct any discovery needed to identify, locate or
dispose of the property, including depositions, interrogatories, requests for production of
documents and to iss':e subpoenas, pursuant to Fed. R. Civ. P. 45.

        Following the Court's disposition of all timely petitions filed, a frnal order of forfeiture
shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2).If no third party files a timely petition,
this order shall become the final order and judgrnent of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property and shall dispose of the
property according to law. Pursuant to Fed. R. Crim. P. 32.2(bX4XA), the defendant consents that
this order shall be final as to defendant upon filing.
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SO AGREED:




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JACK W.STEWART,JR.
A■ omey for Defendant




                             United States Magistrate Judge
                             Western District ofNorth Carolina




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